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                    IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION

   UNITED STATES OF AMERICA                                              PLAINTIFF

               v.      Criminal Case No. 11-50121-008

   OSIRIS IVONNE DEPAZ-RAMIREZ                                           DEFENDANT


                                      O R D E R

         Now   on   this   28th   day    of    March,   2012,    comes    on      for

   consideration the Magistrate Judge's Report And Recommendation

   (document #84), to which both parties have waived the right to

   object, and the Court, having carefully reviewed said Report And

   Recommendation, finds that it is sound in all respects, and that

   it should be adopted in toto.

         IT IS THEREFORE ORDERED that the Magistrate Judge's Report

   And Recommendation is adopted in toto.

         IT IS FURTHER ORDERED that, for the reasons stated in the

   Magistrate Judge's Report And Recommendation, defendant's guilty

   plea is accepted, and the written plea agreement is tentatively

   approved, subject to final approval at sentencing.

         IT IS SO ORDERED.

                                                /s/ Jimm Larry Hendren
                                              JIMM LARRY HENDREN
                                              UNITED STATES DISTRICT JUDGE
